          Case 1:07-cr-00291-WMS     Document 341     Filed 10/28/08    Page 1 of 2




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

          v.                                                     DECISION AND ORDER
                                                                      07-CR-291S
RAFAEL IRIZARRY,

                             Defendant.


          1.    On September 26, 2008, the Defendant entered into a written plea

agreement (Docket No. 316) and pled guilty to Count 26 of the Indictment (Docket No. 188)

charging a violation of Title 21, U.S.C. Section 843(b) (use of a communication facility to

commit a drug trafficking crime),

          2.    On September 26, 2008, the Honorable H. Kenneth Schroeder, Jr., United

States Magistrate Judge, filed a Report and Recommendation (Docket No. 318)

recommending that Defendant’s plea of guilty be accepted and the Defendant adjudicated

guilty.

          3.    This Court has not received objections to the Report and Recommendation

in accordance with 28 U.S.C. §636(b)(1)(C) and Local Rule 58.2(a)(3).

          4.    This Court has carefully reviewed de novo Judge Schroeder’s September 26,

2008, Report and Recommendation, the plea agreement, transcript of the proceeding, and

the applicable law. Upon due consideration, this Court finds no legal or factual error in

Judge Schroeder’s Report and Recommendation, and will accept Judge Schroeder’s

recommendation that Defendant’s plea of guilty be accepted and that the Defendant be

adjudicated guilty as charged.
      Case 1:07-cr-00291-WMS        Document 341     Filed 10/28/08   Page 2 of 2




      IT HEREBY IS ORDERED, that this Court accepts Judge Schroeder’s September

26, 2008 Report and Recommendation (Docket No. 318) in its entirety, including the

authorities cited and the reasons given therein.

      FURTHER, that the plea of guilty of Defendant Rafael Irizarry is accepted, and he

is now adjudged guilty of Title 21, U.S.C. Section 843(b).

      SO ORDERED.


Dated: October 27, 2008
       Buffalo, New York


                                                       /s/William M. Skretny
                                                       WILLIAM M. SKRETNY
                                                     United States District Judge




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